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UNITED sTATEs DISTRICT CoURT F“»"'»"D @"’ W~» m
WESTERN DISTRICT OF TENNESSEE 95 JUN-\ ppg 5= |7

 

WESTERN DIVISION HOBERT ar maion
C‘§Hm "=z§§$¢§r\.ir:ms
JIT CONCEPTS, INC. JUDGMENT IN A CIVIL CASE
v¢
sHELBY COUNTY HEALTH CARE CASE NO: 02-2891-D

CORPORATION, d/b/a REGIONAL
MEDICAL CEN'I`ER AT MEMPHIS

 

DECISION BY COURT. This action came to consideration before the Court. The issues have
been considered and a decision has been renderedl

IT IS SO ORDERED AND ADJUDGED that in accordance With the jury Verdict rendered
on May 23, 2005, judgment is hereby entered in favor of plaintiff, JIT Concepts, Inc., and
against defendant, Shelby County Health Care Corporation, d/b/a Regional Medical Center
at Memphis, in the amount of $1,763,956.00, thereby dismissing this cause.

APPROVED:

 

ROBERT R. Dl TROLIO

Dai: j r Clerk of Court

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(By) D€puty Clerk

 

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 106 in
case 2:02-CV-02891 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

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